                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00076
                                                     )      JUDGE CAMPBELL
ALLEN WALKER, et al.                                 )

                                             ORDER

       Pending before the Court is Defendant Walker’s Motion To Reset Status Conference

(Docket No. 181) and Defendant Jason Powell’s Response (Docket No. 182). Through the

Motion, Defendant Walker requests that the Court continue the status conference, currently set

for March 15, 2013, because counsel is scheduled to be out of the state on that date. In his

Response, Defendant Powell indicates that he does not object to a continuance, but requests that

the Court schedule the status conference at a time other than March 22 - March 27, 2013 as

counsel for Defendant Powell is scheduled to be on vacation during that time.

       The Motion To Reset Status Conference is GRANTED, as follows: The status conference

is CANCELLED. The Court will hold an alternative change of plea hearing on March 21, 2013,

at 9:00 a.m. Any Defendant who intends to enter a guilty plea on that date shall submit a

proposed petition or plea agreement on or before March 19, 2013.

       The Pretrial Conference/Change of Plea Hearing remains scheduled for April 3, 2013, at

9:00 a.m., and all other deadlines remain as set.

       It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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